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11
                               UNITED STATES DISTRICT COURT FOR THE
12
                                 NORTHERN DISTRICT OF CALIFORNIA
13

14    SHERRIS MINOR as an individual,
      on behalf of herself, the general public         CASE NO. 20-cv-02901-RS
15    and those similarly situated,
                                                       PLAINTIFF’S NOTICE OF MOTION AND
16    Plaintiff,                                       MOTION FOR CLASS CERTIFICATION;
                                                       MEMORANDUM OF POINTS AND
17                                                     AUTHORITIES IN SUPPORT THEREOF
18    v.
                                                       DATE: November 4, 2021
19    BAKER MILLS, INC.; and KODIAK                    TIME: 1:30 p.m.
      CAKES, LLC,                                      CTRM: 3
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      Defendants.                                      HONORABLE JUDGE SEEBORG
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 1          NOTICE OF MOTION AND MOTION FOR CLASS CERTIFICATION
 2          Please take notice that on November 4, 2021, at 1:30 p.m., or soon thereafter as this
 3   motion may be heard, Plaintiff Sherris Minor will, and hereby does, move, pursuant to Rule 23 of
 4   the Federal Rules of Civil Procedure, to certify the following class:
 5          All persons in the State of California who purchased the Products 1 between April 9, 2016
 6          and the present.
 7          The Class will pursue claims under the Unfair Competition Law, Cal. Bus. & Prof. Code
 8   §§ 17200 et seq. (“UCL”), the California Legal Remedies Act, Cal. Civ. Code §§eq., (“CLRA”);
 9   the California False Advertising Law, Cal. Bus. & Prof. Code §§ 17500 et seq. (“FAL”); and for
10   common law fraud, deceit and/or misrepresentation.
11          Plaintiff further requests that the Court (1) Plaintiff Sherris Minor as class representative
12   on all claims, and (2) Gutride Safier LLP as lead counsel. Plaintiff finally requests the Court to
13   order the parties to meet and confer and present this Court, within fifteen (15) days of an order
14   granting class certification, a proposed notice to the certified class.
15          This motion is based upon this Notice of Motion and Motion, Memorandum of Points and
16   Authorities, and the accompanying Declarations in support of Class Certification by the following
17   persons:
18              •   Hayley Reynolds                       •   Stephen Gaskin
19              •   Dr. Michael Dennis                    •   Seth Safier
20              •   Colin Weir                            •   Sherris Minor
21              •   Dr. Robert Wolfe
22          (In the Memorandum of Points and Authorities that follows, these declarations shall be
23   referred to by the last name of the declarant, followed with the abbreviation “Decl.” (For
24   example: “Reynolds Decl.”) This Motion is also based on the pleadings and papers on file in this
25   action and all matters of which this Court may take notice.
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     1
27    The Products are all Kodiak Cakes products that made a representation regarding the grams of
     protein per serving on the principal display panel of the product labels during the Class Period. A
28   non-exhaustive list is attached as Exhibit B to the First Amended Complaint filed January 4,
     2021.
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 1   shall be used.” 21 C.F.R. § 101.9(c)(7) (emphasis added). For example, the AOAC official factor
 2   for wheat protein is 5.7. Id.; see also Wolfe ¶ 34.
 3           Moreover, where a product makes a protein claim, it must include a percent daily value
 4   for the protein in the NFP using PDCAAS, a method that accounts for both the quantity and
 5   quality of protein in the product. 21 C.F.R. 101.9(c)(7)(i)-(ii). The first step is to calculate the
 6   “corrected amount of protein per serving” by multiplying protein quantity by PDCAAS, and then
 7   dividing that “corrected amount” by 50 grams (the “recommended daily value” for protein) to
 8   come up with a percent daily value. Id. The FDA promulgated this regulation because “nutrition
 9   labeling must allow consumers to readily identify foods with particularly low quality protein to
10   prevent them from being misled by information on only the amount of protein present.” 58 Fed.
11   Reg. 2079, at 2102.
12           While a required statement inside of the NFP escapes regulations reserved for nutrient
13   content claims (21 C.F.R. § 101.13(c)), the identical statement outside of the NFP is still
14   considered a nutrient content claim and is therefore subject to 21 C.F.R. § 101.13(i)(3). 21 C.F.R.
15   § 101.13(c). Indeed, the Ninth Circuit has specifically held that “a requirement to state certain
16   facts in the nutrition label is not a license to make that statement elsewhere on the
17   product.” Reid v. Johnson & Johnson, 780 F.3d 952, 960 (9th Cir. 2015). Thus, Kodiak Cakes’
18   protein representations on the front label are subject to analysis as a nutrient content claim and
19   cannot be false or misleading in any manner.
20           These regulations govern all Products at issue in the case, and, in short, Kodiak violated
21   them in three ways: (1) the front label violates 21 C.F.R. § 101.13(i)(3) both since the amount of
22   protein stated on the label fails to account for how much protein the products actually provide
23   given the poor protein quality (i.e., they are misleading) and they did not use the appropriate
24   nitrogen factor for wheat (i.e., they are literally false in terms of pure quantity); (2) the amount of
25   protein stated in the NFP violates 21 C.F.R. § 101.9(c) because it used an inflated conversion
26   factor (6.25 instead of 5.7) to report grams of protein per serving, and (3) the NFP violates 21
27   C.F.R. § 101.9(c)(i)-(ii) because it does not include a percent daily value.
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                    2.        Protein Quality Is Critical for Determining the Amount of
 1                            Protein the Human Body Can Nutritionally Utilize as Protein
 2          Protein quantity by itself does not tell the full story from a human nutritional standpoint.
 3   A protein’s quality is also critical because, as explained below, humans cannot fully digest or
 4   utilize some proteins.
 5          Proteins are chains of amino acids linked together in specific orders and amounts. Wolfe
 6   Decl. ¶ 9. There are twenty different amino acids in total, and different types of proteins have
 7   different combinations of these amino acids linked together in different amounts. Id. at ¶ 11.
 8   Some proteins have all twenty amino acids present in some amount, while others contain no
 9   amount of certain amino acids. See Wolfe Decl. ¶ 11, 29.
10          The human body is comprised of thousands of proteins essential to its functioning. Wolfe
11   Decl. ¶ 9. Those proteins are also in a constant state of turnover due to the processes of synthesis
12   and breakdown. Id. at 10. Throughout the course of the day, the rate of protein synthesis must at
13   least equal the rate of protein breakdown for adults to maintain their lean body mass. Id. Some of
14   the amino acids a human body uses for protein synthesis come from protein breakdown within the
15   body. Id. at 16. The rest are supplied by digesting proteins consumed in the diet and then utilizing
16   the amino acids those protein sources provided. Id. at ¶¶ 17-18. All of the body’s proteins are
17   formed through the process of protein synthesis, not supplied directly through consumption. Id. at
18   ¶¶ 12-14. In other words, although humans consume dietary proteins, their bodies digests those
19   proteins, break them down into their constituent amino acids, and then use those amino acids to
20   synthesize the human proteins necessary for life. Id.
21          Of the twenty total amino acids, humans can produce only eleven of them on their own.
22   Id. at ¶ 16. Humans cannot produce, under any circumstances, nine of the amino acids required
23   for protein synthesis. Id. at 17. These nine amino acids are called the indispensable, or essential
24   amino acids (“EAAs”), and must be obtained through the diet. Id. at ¶¶ 17-18. Consequently,
25   EAAs from digesting dietary protein are necessary to sustain protein synthesis at a rate equal to or
26   exceeding the rate of breakdown. Id. at ¶ 18.
27          “[A]ssessment of protein quality is a measure of the content, proportion, and availability
28   of essential amino acids in food protein.” 56 Fed. Reg. 60366, § B. If a dietary protein is deficient

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 1   that it is capable of classwide resolution.’” Pettit, 2017 WL 3310692, at *2 (quoting Wal-Mart,
 2   564 U.S. at 350.). Not all questions need be common to satisfy the rule. Id.; see also Mazza v.
 3   Honda Am. Honda Motor Co., 666 F.3d 581, 589 (9th Cir. 2012) (“[C]ommonality only requires
 4   a single significant question of law or fact.”). In a false labeling case, such as this, “the central
 5   question is whether [the Defendants’ labels] were likely to deceive a reasonable consumer.”
 6   Kumar v. Salov N. Am. Corp., No. 14-CV-2411- YGR, 2016 U.S. Dist. LEXIS 92374, at *11
 7   (N.D. Cal. July 15, 2016); see Williams v. Gerber Products Co., 553 F.3d 934, 938 (9th Cir.
 8   2008) (“[T]he primary evidence in a false advertising case is the advertising itself.”). The UCL,
 9   CLRA, and FAL require a plaintiff to show only “that members of the public are likely to be
10   deceived” based on an objective standard. Kumar, 2016 U.S. Dist. LEXIS 92374, at *12 (citation
11   omitted). Where there are “identical statements on the labels of the products at issue,” the answer
12   to that question will “be based on common facts.” Id.; see also Korolshteyn v. Costco Wholesale
13   Corp., No. 3:15-CV-709-CAB-RBB, 2017 WL 1020391, at *5 (S.D. Cal. Mar. 16, 2017) (“By
14   definition, class members were exposed to these labeling claims, creating a ‘common core of
15   salient facts.’”). As a result, “[c]ourts routinely find commonality in false advertising cases.”
16   Astiana v. Kashi Co., 291 F.R.D. 493, 501 (S.D. Cal. 2013) (citing Ries v. Arizona Beverages
17   USA LLC, 287 F.R.D. 523, 537 (N.D. Cal. 2012)). 7
18           This case is no different. The “central question” is whether Kodiak’s labels were
19   misleading and therefore unlawful under 21 U.S.C. § 343 and 21 C.F.R. § 101.13. This is
20   necessarily a common question based on an objective standard. Krommenhock v. Post Foods,
21   LLC, 334 F.R.D. 552, 564, 565, 575 (N.D. Cal. 2020) (discussing the objective nature of the key
22   inquires under the UCL, CLRA, and FAL); Hadley v. Kellogg Sales Co., 324 F. Supp. 3d 1084,
23   1115 (N.D. Cal. 2018) (“[B]ecause deception and materiality under the FAL, CLRA, and UCL
24   are objective questions, they are ‘ideal for class certification because they will not require the
25   court to investigate class members' individual interaction with the [challenged] product[s].’”).
26
     7
       See also, e.g., Chavez v. Blue Sky Natural Beverage Co., 268 F.R.D. 365, 377 (N.D. Cal. 2010);
27   In re POM Wonderful LLC Marketing & Sales Practices Litig., 2012 WL 4490860, at *1 (C.D.
     Cal. Sept. 28, 2012); Pettit v., 2017 WL 3310692, at *2-4.
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                    3. Plaintiff Is Typical of the Class.
 1
            “Typicality focuses on the class representative’s claim—but not the specific facts from
 2
     which the claim arose—and ensures that the interest of the class representative aligns with the
 3
     interests of the class.” Just Film, Inc. v. Buono, 847 F.3d 1108, 1116 (9th Cir. 2017). “The
 4
     requirement is permissive, such that representative claims are typical if they are reasonably
 5
     coextensive with those of absent class members; they need not be substantially identical.” Id.
 6
            “Some degree of individuality is to be expected in all cases, but that specificity does not
 7
     necessarily defeat typicality.” Hanlon, 150 F.3d at 1020. Typicality is satisfied if the named
 8
     plaintiffs’ claims stem from the same practice or course of conduct that forms the basis of the
 9
     class’s claims and are based upon the same legal remedial theory. Wolin v. Jaguar Land Rover N.
10
     Am., LLC, 617 F.3d 1168, 1175 (9th Cir. 2010); See also Just Film, 847 F.3d at 1116 (“Her claim
11
     is typical of the class because it shares ‘some common question of law and fact with class
12
     members’ claims.’”) (quoting Newberg on Class Actions § 3:31 (5th ed.)).
13
            Plaintiff Minor’s claims are typical of those of the other Class members. She, like all class
14
     members: purchased Kodiak Products that had a protein representation on the front label and did
15
     not have a %DV for protein in the Nutrition Facts Panel (Reynolds Decl., Ex. 6; Minor Decl. ¶ 2);
16
     believed that the Products would provide all of the grams of protein in a form that is usable to the
17
     human body as protein (Minor Decl., ¶ 3); and paid a price premium as a result of the
18
     misrepresentation (Gaskin Decl., ¶¶ 14, 64). Courts routinely find similar facts sufficient for
19
     typicality. See, e.g., Pettit, 2017 WL 3310692, at *4 (finding typicality because the plaintiff
20
     purchased Freshmates under the apprehension they were appropriate for flushing down the toilet,
21
     and now alleges she is owed restitution of the price premium she paid for an ostensibly
22
     ‘flushable’ product because P&G’s ‘flushable’ label was false”); Astiana, 291 F.R.D. at 502
23
     (finding typicality where the named-plaintiff “suffered the same type of economic injury and
24
     seeks the same type of damages as the putative class members”). It does not matter that she did
25
     not purchase each product included in the class because the underlying facts and theory of
26
     liability with respect to each product is the same. See Werdebaugh v. Blue Diamond Growers, No.
27
     12-CV-2724-LHK, 2014 U.S. Dist. LEXIS 71575, at *56 (N.D. Cal. May 23, 2014); Astiana, 291
28
     F.R.D. at 502-03; Ries, 287 F.R.D. at 539-40; Chavez, 268 F.R.D. at 377-78.
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                     4. Plaintiff and Counsel Will Adequately Protect the Interests of the
 1                      Class
 2           Fed. R. Civ. P. 23(a)(4) requires that the class representative and class counsel “fairly and
 3   adequately protect the interests of the class.” In the Ninth Circuit this is satisfied if (1) neither the
 4   representative plaintiffs nor their counsel “have any conflicts of interest with other class
 5   members,” and (2) the representative plaintiffs and their counsel will “prosecute the action
 6   vigorously on behalf of the class.” Staton v. Boeing Co., 327 F.3d 938, 957 (9th Cir. 2003).
 7           Plaintiff will fairly and adequately protect the interests of the members of the Class,
 8   because it is in her best interest to prosecute the claims alleged in the Complaint to obtain full
 9   compensation due to all members for the illegal conduct of which she complains. She has no
10   conflict, let alone an irreconcilable conflict, with other class members. Rather, she stands in the
11   same shoes as all other members of the Class, seeks the same relief as other class members, and
12   has a common interest in obtaining all of the relief sought.
13           Plaintiff’s counsel will also adequately protect the interests of the class. Counsel have
14   successfully represented numerous plaintiff classes, involving a variety of claims, in state and
15   federal courts throughout the country. Safier Decl., ¶2, Ex. A, p. 1-5, 9-14. Gutride Safier LLP
16   has been involved (and appointed class counsel) in at least twenty-four class actions, including
17   several cases relating to food and product mislabeling; it also obtained many of the key Ninth
18   Circuit precedents applicable in consumer cases. Safier Decl., Ex. A, at p. 1-5, 9-14. Plaintiff’s
19   counsel have the necessary financial resources to vigorously litigate this action. Safier Decl., ¶ 3.
20   Neither firm has any conflicts of interest with members of the class. See id. This is more than
21   sufficient to establish adequacy. See, e.g., Astiana, 291 F.R.D. at 503 (finding adequacy where
22   “the interim co-lead counsel has experience in prosecuting consumer fraud and warranty class
23   actions”); McCrary v. Elations Co., LLC, No. EDCV 13-00242 JGB OP, 2014 WL 1779243, at
24   *12 (C.D. Cal. Jan. 13, 2014) (finding adequacy where class counsel was “an experienced class
25   action firm that has participated in many cases similar to the present action and has the resources
26   and intent to vigorously prosecute this action”).
27           B.      The Class Satisfies the Requirements of Rule 23(b)(3)
28
             Rule 23(b)(3) requires that “questions of law or fact common to class members

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 1   predominate over any questions affecting only individual members, and that a class action is
 2   superior to other available methods for fairly and efficiently adjudicating the controversy.” Fed.
 3   R. Civ. P. 23(b)(3). The predominance inquiry asks “whether proposed classes are sufficiently
 4   cohesive to warrant adjudication by representation. The focus is on the relationship between the
 5   common and individual issues.” Stearns v. Ticketmaster Corp., 655 F.3d 1013, 1019 (9th Cir.
 6   2011) (internal quotations and citation omitted)). Predominance does not require that all issues in
 7   the case be common. Rather, the common questions need only be “a significant aspect of the case
 8   . . . [that] can be resolved for all members of the class in a single adjudication.” Mazza v, 666
 9   F.3d at 589. Courts routinely find predominance in false labeling cases because, as discussed
10   above, the answer to whether the label was false or misleading to reasonable consumers, and
11   whether it was material “will be the same for the entire class.” Korolshteyn, 2017 WL 1020391, at
12   *6. “These common questions are not only more significant than other questions at issue in [the]
13   suit, they are the most significant questions in this lawsuit. Therefore, these questions
14   predominate over any individual questions that may arise.” Id.; see also, e.g., Mullins v. Premier
15   Nutrition Corp., No. 13-CV-01271-RS, 2016 WL 1535057, at *6-7 (N.D. Cal. Apr. 15, 2016)
16   (finding predominance in false labeling action based on common questions regarding deception,
17   materiality, and class wide proof of restitution); Kumar, 2016 WL 3844334, at *7-10 (same);
18   Pettit, 2017 WL 3310692, at *2-4, 5 (same); Hadley, 324 F.Supp.3d at 1094-1103 (same);
19   Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc., 326 F.R.D. 592, 611-614 (N.D. Cal. 2018)
20   (same); Post Foods, 334 F.R.D. at 565 (same); Ries, 287 F.R.D. at 536-37 (same); In re Tobacco
21   II Cases, 46 Cal. 4th 298, 312 (2009) (holding that questions of materiality and the likelihood a
22   representation will mislead a reasonable consumer predominate over individual issues). These
23   same common issues predominate here.
24                  1.      Common Questions Predominate About Whether Kodiak’s
                            Front Label Protein Representations Were False or Misleading.
25
            Plaintiff established above that the central question in this case is common, i.e., whether
26
     the Product’s front label representation regarding the number of grams of protein per serving is
27
     false or misleading based on the objective “reasonable consumer” standard, and will be answered
28
     by common proof. See supra, §§ II.B-D. With respect to this issue, “the predominance and
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 1   commonality issues collapse.” Pettit, 2017 WL 3310692, at *5.
 2                  2.      Common Questions Predominate on Unlawfulness
 3          The UCL’s “unlawful” prong “borrows” predicate legal violations and treats them as
 4   independently actionable. Wang v. Massey Chevrolet, 97 Cal.App.4th 856, 871 (2002). The Class
 5   alleges the labels violated FDA and state regulations in at least three ways: 1) including
 6   misleading front-label protein representations that render the labels misbranded under 21 U.S.C. §
 7   343, 21 C.F.R. § 101.13(i), and California law; 2) failing to use the appropriate nitrogen
 8   conversion factor to calculate protein content for the nutrition facts in violation of 21 C.F.R. §
 9   101.9(c); and 3) failing to include a percent daily value for protein, calculated using the PDCAAS
10   method, in violation of 21 C.F.R. § 101.9(c)(7)(i)-(ii). Kodiak Cakes’ liability for such
11   misbranding is a predominating common question because “proving the . . . ‘unlawful’ prong[] of
12   the UCL . . . do[es] not depend upon any issues specific to individual consumers.” Lilly v. Jamba
13   Juice Co., 308 F.R.D. 231, 242 (N.D. Cal. 2014). Rather, “[t]he label is either illegal or it is not,”
14   and that determination will apply to all Class Members the same. Ang v. Bimbo Bakeries USA,
15   Inc., 2014 WL 1024182, at *8 (N.D. Cal. Mar. 13, 2014).
16                  3.      Common Questions Predominate on Restitution and Damages.
17          Plaintiff seeks restitution under the UCL, as well as damages under the CLRA and for
18   fraud, presenting further predominant common questions. 8 Pursuant to Comcast v. Behrend, 133
19   S. Ct. 1426 (2013), Plaintiff must show that damages are “capable of measurement” across the
20   class and that her damages model “fits” her theory of liability. Id. at 1435. But Plaintiff need not
21   “actually calculate under that approach before liability is established.” Brown v. Hain Celestial
22
     8
       Under the UCL, a court may grant restitution, Colgan v. Leatherman Tool Group, Inc., 135
23   Cal.App. 4th 663, 694 (2006); Cal. Bus. & Prof.Code §§ 17203, 17535, an equitable remedy
     whose purpose is “to restore the status quo by returning to the plaintiff funds in which he or she
24   has an ownership interest.” Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1149
     (2003); see also Cortez v. Purolator Air Filtration Products Co., 23 Cal. 4th 163, 177 (2000).
25   Restitution has two purposes: returning money unjustly taken from the class, and deterring the
     defendant from engaging in future violations. See Colgan, 135 Cal.App. 4th at 695. If restitution
26   is awarded, it must be a “quantifiable sum,” and the award must be supported by substantial
     evidence. Id. at 698. Under the CLRA and fraud-based claims, a consumer may recover actual
27   damages, punitive damages and attorney fees. Cal. Civ. Code § 1780(a)(1),(5), (d); id. § 3294(a).
     The CLRA also provides for statutory damages of $5,000 for each act of false advertising to a
28   person age 65 or older. Cal. Civ. Code §§ 1761(f)-(g), 1780(a)(4).

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 1   Grp., Inc., 2014 WL 6483216, at *19 (N.D. Cal. Nov. 18, 2014) ; see McCrary, 2014 WL
 2   1779243, at *15 (certifying consumer class because plaintiff presented a viable damages model
 3   and “it is not necessary to show that his method will work with certainty at this time”). Moreover,
 4   variations in damages among class members is not a reason to deny certification. See Pulaski &
 5   Middleman, LLC v. Google, Inc., 802 F.3d 979, 986 (9th Cir. 2015) (“damage calculations alone
 6   cannot defeat class certification”) (citation omitted).
 7          “It is well-established that the ‘price premium attributable to’ an alleged misrepresentation
 8   on product labeling or packaging is a valid measure of damages in a mislabeling case under the
 9   FAL, CLRA, and UCL” and therefore satisfies Comcast. Hadley, 324 F. Supp. 3d at 1104; see
10   also Zeiger v. WellPet LLC, No. 3:17-cv-04056-WHO, 2021 U.S. Dist. LEXIS 37815, at *34
11   (N.D. Cal. Feb. 26, 2021) (same); Guido v. L'Oreal, USA, Inc., 2013 WL 3353857, at *11 (C.D.
12   Cal. July 1, 2013) (same). Here, Plaintiff’s survey and economics experts, Steve Gaskin and Colin
13   Weir, 9 propose a conjoint damages model to show that everyone in the class paid a price premium
14   for Kodiak Products as a result of the protein misrepresentation. Gaskin Decl., ¶ 15; Weir Decl.,
15   ¶¶ 11-12; see also Hadley, 324 F. Supp. 3d at 1103-1110 (approving a Gaskin and Weir-
16   sponsored conjoint analysis to measure a labeling price premium). Conjoint analysis has been
17   used for 50 years by academic researchers, industry marketing departments, and government
18   agencies to determine the price premium attributable to particular product attributes, such as label
19   claims Id. Numerous courts have also approved of conjoint analysis as a methodology to
20   determine the price attributable to specific product features such as a label claim. See Bailey v.
21   Rite Aid Corp., No. 4:18-cv-06926 YGR, 2021 U.S. Dist. LEXIS 81654, at *50 (N.D. Cal. Apr.
22   28, 2021) (finding conjoint by Steve Gaskin to comport with requirements of Comcast and
23   sufficient to show damages are capable of measurement on a class-wide basis); Hadley, 324 F.
24   Supp. 3d at 1103 (finding conjoint analysis sufficient); Post Foods, 334 F.R.D. at 575 (same); see
25   also, e.g., In re: Lenovo Adware Litig., No. 15-MD-02624-RMW, 2016 WL 6277245, at *21
26   (N.D. Cal. Oct. 27, 2016) (same); In re ConAgra Foods, Inc., 90 F. Supp. 3d 919, 944 (C.D. Cal.
27

28   9
       Numerous courts have also accepted Mr. Gaskin and Mr. Weir as survey and damages experts,
     respectively. Gaskin Decl., ¶ 16; Weir Decl., ¶ 2 and Ex. 1 attached thereto.
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 1   used to evaluate the price premium for all remaining Product categories. See Bailey, 2021 U.S.
 2   Dist. LEXIS 81654, at *41, n. 14. 11
 3                  4.      Common Questions Predominate on Materiality
 4          Questions of materiality on the CLRA and Fraud claims also predominate (materiality is
 5   not an element of the UCL or FAL claims). As with deception, “[q]uestions of materiality and
 6   reliance are determined based upon the reasonable consumer standard, not the subjective
 7   understandings of individual plaintiffs.” Kumar, 2016 WL 3844334, at *7; see also Stearns, 655
 8   F.3d at 1022; Occidental Land, Inc. v. Superior Court, 18 Cal. 3d 355, 363 (1976) (for common-
 9   law fraud class, reliance can be proven on common basis by showing that misrepresentations
10   were material). Because materiality is an objective standard common to all, and class wide
11   reliance is inferred if the misrepresentations were material, this question predominates. Cf.
12   Hadley, 324 F. Supp. 3d at 1115-16 (“because deception and materiality are objective questions,
13   they are common questions.”) (citations omitted). Here, Plaintiff can establish materiality through
14   Kodiak’s own common survey evidence that shows that 85% of purchasers relied on the Protein
15   Representation when purchasing the Product, e.g., Kumar, 2016 WL 3844334, at *7 (“Materiality
16   can be shown by a third party’s, or defendant’s own, market research showing the importance of
17   such representations to purchasers.”), and the conjoint survey. Weir Decl. ¶ 48.
18   Plaintiff seeks an injunction requiring the protein representation to include only the grams of
     usable protein provided by the product.
19
     Even if injunctive relief is unavailable, and even if common questions do not predominate
20   because of damages issues, it would be appropriate to certify the class on liability issues only
     under Rule 23(b)(1) and (c)(4). A classwide finding of liability would greatly simplify any
21   individual actions that might thereafter be brought for damages, whereas without such a finding,
     such suits would be too expensive to prosecute. Similar liability-only classes were certified in
22   cases involving allegedly defectively designed washing machines, where class members might be
     entitled to different remedies depending on whether the defect manifested in their machine. See In
23   re Whirlpool Corp. Front-Loading Washer Products Liab. Litig., 722 F.3d 838, 858-59 (6th Cir.
     2013) cert. denied, 13-431, 2014 WL 684065 (U.S. Feb. 24, 2014) (finding certified class “will
24   prevail or fail in unison” and classwide liability adjudication will be “more efficient”
     notwithstanding differences in damages); Butler v. Sears, Roebuck & Co., 727 F.3d 796, 798 (7th
25   Cir. 2013) cert. denied, 13-430, 2014 WL 684064 (U.S. Feb. 24, 2014) (holding Comcast does
     not impact cases where a liability only class is certified); In re High-Tech Employee Antitrust
26   Litig., 985 F. Supp. 2d 1167, 1185-86 (N.D. Cal. Oct. 24, 2013) (certifying liability-only class).
     11
27      “A plaintiff is not required to actually execute a proposed conjoint analysis to show that
     damages are capable of determination on a class-wide basis with common proof. See Hadley, 324
28   F. Supp. 3d at 1103 (holding that proposed conjoint analysis that had not yet been executed was
     sufficient to show that damages can be calculated on a class-wide basis with common proof).
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 1           Kodiak will likely argue that consumers had different motivations that led to their
 2   purchases, but this fails for several reasons. First, because the misrepresentation affected the retail
 3   price of the products, all class members paid the price premium and were economically injured
 4   regardless of their reasons for purchasing the product. See Kumar, 2016 WL 3844334, at *7
 5   (noting that in a “price premium” case “materiality and reliance do not break down into
 6   individualized inquiries, but can be determined on a classwide basis.”). Second, a plaintiff is not
 7   required to show that the challenged statement is the “sole or even the decisive cause” influencing
 8   class members' decisions to buy the challenged products, only that it is a substantial factor.
 9   Kwikset Corp. v. Superior Court, 51 Cal. 4th 310, 327 (2011); see Brown, 2014 WL 6483216, at
10   *17 (certifying a class even though consumers “buy products all the time for more than one
11   reason”); Allen v. Hyland’s Inc., 300 F.R.D. 643, 668 (C.D. Cal. 2014) (rejecting evidence that
12   consumers had different primary motivators for purchasing product and finding predominance).
13   And finally, at best, any “argument about ‘consumers hav[ing] a variety of reasons for purchasing
14   [the product] is ‘a merits dispute as to materiality,’ and is therefore a dispute ‘that can be resolved
15   classwide,’ because, as discussed at length above, materiality is a ‘common question' for purposes
16   of Rule 23(b)(3).’” Hadley, 324 F. Supp. 3d at 1117.
17                   5.      A Class Action is Superior.
18           Rule 23(b)(3) enumerates four factors to consider on “superiority”: “(A) the interest of
19   members of the class in individually controlling the prosecution ... of separate actions; (B) the
20   extent and nature of any litigation concerning the controversy already commenced by ... members
21   of the class; (C) the desirability ... of concentrating the litigation of the claims in the particular
22   forum; (D) the difficulties likely to be encountered in the management of a class action.”
23           There is little to be gained by class members filing individual claims, because the amounts
24   are only a few dollars per purchase. Judicial resources would be conserved by concentrating the
25   action in a single suit. Finally, the adjudication of class claims would not be significantly more
26   burdensome than if the matter were prosecuted individually, while the prosecution of individual
27   remedies could establish inconsistent standards of conduct for Defendants. “[A] class action has
28   to be unwieldy indeed before it can be pronounced an inferior alternative . . . to no litigation at

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 1   all.” Carnegie v. Household Int’l, Inc., 376 F.3d 656, 661 (7th Cir. 2004).
 2          IV.     CONCLUSION
 3          For the foregoing reasons, Plaintiff respectfully requests that this Court grant this Motion
 4   for Class Certification.
 5   Dated: August 2, 2021
 6                                                        GUTRIDE SAFIER LLP
 7
                                                          /s/Hayley Reynolds
 8                                                        Seth A. Safier, Esq.
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